                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

VETO PRO PAC, LLC,                             :
     Plaintiff,                                :
                                               :
v.                                             :           CIVIL ACTION NO.
                                               :           3:08-cv-00302 (VLB)
CUSTOM LEATHERCRAFT                            :
MANUFACTURING CO., INC. and                    :
HOME DEPOT U.S.A., INC.,                       :
    Defendants.                                :           February 5, 2009


     MEMORANDUM OF DECISION GRANTING IN PART AND DENYING IN PART
        DEFENDANTS’ PARTIAL MOTIONS TO DISMISS [Docs. ## 12, 20]


       Before the Court are the partial motions to dismiss filed by the defendants

Custom Leathercraft Manufacturing Co., Inc. (“CLC”) [Doc. #12] and Home Depot

U.S.A., Inc.1 (“Home Depot”). [Doc. #20] Veto Pro Pac, LLC (“Veto”) brought this

action claiming that the defendants infringed its tool bag patents, United States

Patent Nos. 6,126,003 (“the ‘003 patent”) and 6,915,902 (“the ‘902 patent”), and

also pled state law claims for unjust enrichment and unfair competition in

violation of the Connecticut Unfair Trade Practices Act (CUTPA), Conn. Gen. Stat.

§ 42-110a et seq. Veto further alleges that the defendants knowingly and willfully

infringed its patents and prays for attorney’s fees pursuant to 35 U.S.C. § 285.

       The Court has federal question jurisdiction over Veto’s federal patent

infringement claims and supplemental jurisdiction over its state law claims,


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        The Court notes that the Home Depot defendant responsible for the motion to dismiss is
Home Depot, Inc., but the parties have since stipulated that Home Depot U.S.A., Inc. shall be
substituted in all respects for Hom e Depot, Inc.. [Doc. #30]

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which are predicated on the same set of facts. 28 U.S.C. § 1331 and 28 U.S.C. §

1367, respectively. The defendants have each moved to dismiss Veto’s state law

claims as preempted by federal patent law, or, in the alternative, for failure to

state a claim upon which relief may be granted. They further ask the Court to

dismiss Veto’s claims for willful infringement and attorney’s fees. Last, they ask

the Court to dismiss Veto’s claim for trade dress infringement to the extent Veto

intended to plead one. Veto responds that its state law claims are not preempted

to the extent they allege trade dress infringement in addition to patent

infringement, and further respond that all of their claims are sufficiently pled as

they are. For the reasons hereinafter set forth, the defendants’ motions are

GRANTED in part and DENIED in part.

                                        Facts

      For the purposes of this decision, the Court accepts as true all facts

alleged in the complaint and documents attached thereto. Veto is a Connecticut

corporation with a principal place of business in Norwalk, Connecticut. It is a

producer and marketer of tool bags. On August 5, 1999, it applied for a tool bag

patent, and on October 3, 2000, it received the ‘003 patent. On October 2, 2002, it

applied for a tool bag patent, and on July 12, 2005, received the ‘902 patent. At

some point after receiving the two patents, Veto’s Chief Executive Officer and the

inventor of the two patents, Richard Brouard, purchased two “CLC Signature

Series” tool bags in a Home Depot store in Berlin, Connecticut. These two bags

infringe the ‘003 patent and ‘902 patent.


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                                      Discussion

      The Federal Rules of Civil Procedure require that a pleading contain “a

short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). “Specific facts are not necessary; the statement

need only ‘give the defendant fair notice of what the . . . claim is and the grounds

upon which it rests.’” Erickson v. Pardus, 127 S.Ct. 2197, 2200 (2007), citing Bell

Atlantic v. Twombly, 550 U.S. 544 (2007). The court “accept[s] as true all factual

statements alleged in the complaint and draw[s] all reasonable inferences in

favor of the non-moving party. . . . In general, [the court’s] review is limited to the

facts as asserted within the four corners of the complaint, the documents

attached to the complaint as exhibits, and any documents incorporated in the

complaint by reference.” McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191

(2d Cir. 2007). “To survive a motion to dismiss, a complaint must plead enough

facts to state a claim to relief that is plausible on its face.” Ruotolo v. City of New

York, 514 F.3d 184, 188 (2d Cir. 2008).

                     Trade Dress Infringement and Preemption

      As the complaint does not distinguish the actions of each defendant, and

Home Depot’s motion to dismiss merely joins in the arguments made by CLC in

its motion to dismiss, the Court will address the arguments of each side as jointly

originating from, and directed to, the two defendants. The defendants argue that

Veto’s state law claims are preempted by federal patent law. Veto responds that

its state law claims are outside the field of patent preemption because they assert


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claims for trade dress infringement as well as patent infringement.

       The decisions of the Federal Circuit control the area of patent law. Midwest

Indus., Inc. v. Karavan Trailers, Inc., 175 F.3d 1356 (Fed. Cir. 1999) The parties

agree that Hunter Douglas, Inc. v. Harmonic Design, 153 F.3d 1318 (Fed. Cir. 1998)

overruled on other grounds by Midwest Indus., supra, guides the Court’s inquiry

into whether specific state law claims are preempted by federal patent law.

           To determine whether these state law torts are in conflict with federal
           patent law and accordingly preempted, we assess a defendant's
           allegedly tortious conduct. If a plaintiff bases its tort action on
           conduct that is protected or governed by federal patent law, then the
           plaintiff may not invoke the state law remedy, which must be
           preempted for conflict with federal patent law. Conversely, if the
           conduct is not so protected or governed, then the remedy is not
           preempted. This approach, which considers whether a state law tort,
           “as-applied,” conflicts with federal patent law, is consistent with that
           employed by the Supreme Court in cases involving preemption of
           state unfair competition law.


Id. at 1336. Accordingly, the Court concludes that the third count of the

complaint, unjust enrichment, is completely preempted as it simply incorporates

the two counts of patent infringement by reference and asserts that these also

constitute unjust enrichment on the part of the defendants.

       Veto argues that because count four of the complaint, unfair competition,

contains an allegation of trade dress infringement, it is not preempted.2 State law

claims which plead a substantial question of federal patent law as a necessary


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         Veto refers to both its third and fourth counts as containing allegations of trade dress
infringement, but only its fourth count actually contains such an allegation. Nonetheless, the
court’s reasoning w ould not be affected if the third count contained the same bare allegation of
trade dress infringement as the fourth count.

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element, but require some other conduct not governed by federal patent law, are

not preempted. Id. at 1337.

         In its unfair competition claim, as in its unjust enrichment claim, Veto

incorporates by reference its patent infringement claims, and then asserts that

such acts violate CUTPA, without pleading any additional conduct not governed

by federal patent law. The count concludes, “the foregoing acts of trade dress

infringement and unfair competition by Defendants have damaged Plaintiff in an

amount that is unknown and cannot at the present time by ascertained . . .” While

the complaint does not refer to any statutory basis for a trade dress claim, all of

the parties’ briefs refer to the Lanham Act, 15 U.S.C. § 1125(a). This is, of course,

a federal claim, but it seems from Veto’s brief in opposition that it did not intend

to plead trade dress infringement as a violation of the Lanham Act, but merely as

a possible element of a CUTPA claim. However, a Lanham Act claim is a per se

violation of CUTPA, so the distinction is not necessary in this context.3 Therefore,

to survive preemption, Veto must plead conduct in violation of CUTPA, as applied

in this case that is separate and independent from its patent law claim. Hunter

Douglas 153 F.3d at 1336.

         The Federal Circuit has held that state or federal trade dress claims are

distinct from patent claims when they protect the non-functional features of a

product. Midwest Indus., 175 F.3d at 1363. There is no mention of any Veto



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             See, e.g., Indiaweekly.com , LLC v. Nehaflix, 3:07-cv-00194 at * 16 (D. Conn. January 27,
2009).

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product feature not covered by Veto’s patent claims within Veto’s CUTPA claim.

Veto does not identify a specific product or products sold by Veto utilizing the

trade dress allegedly infringed by CLC’s tool bag. Nor is Veto’s trade dress

described in any part of the complaint. Therefore, even if the Court did not find

Veto’s CUTPA claim to be preempted by federal patent law, it would be dismissed

under Fed. R. Civ. P. 12(b)(6). “A plaintiff must amplify a claim with some factual

allegations in those contexts where such amplification is needed to render the

claim plausible.” Iqbal v. Hasty, 490 F.3d 143, 157 (2d Cir. 2007). The absence of

amplification in this case renders Veto’s claim implausible. The Court concludes

that a CUTPA claim based solely on an allegation of trade dress infringement,

without any additional allegations of fact distinguishing such a claim from a

federal patent claim, is subject to federal patent preemption.

                    Willful Infringement and Exceptional Case

      The defendants ask the Court to dismiss Veto’s claim that they willfully

infringed Veto’s patents and accordingly dismiss Veto’s claim for attorney’s fees

in an exceptional case under 35 U.S.C. § 285. Veto responds that it should be

allowed to take discovery to determine whether the defendants’ infringement was

“knowing and willful,” and that the determination of exceptional case status is for

the factfinder.

      “Because patent infringement is a strict liability offense, the nature of the

offense is only relevant in determining whether enhanced damages are warranted

. . . we have held that an award of enhanced damages requires a showing of


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willful infringement.” In re Seagate Tech., LLC, 497 F.3d 1360, 1368 (Fed. Cir.

2007). “[P]roof of willful infringement permitting enhanced damages requires at

least a showing of objective recklessness.” Id. at 1371. While there are no factual

allegations pled in the complaint which would lend the inference that the

defendants acted with objective recklessness, the complaint does allege that the

defendants acted willfully and knowingly. Willful infringement is not a claim in

and of itself, but it is grounds for enhanced damages. Id. Moreover, the Federal

Rules of Civil Procedure allow “malice, intent, knowledge, and other conditions

of a person’s mind” to be alleged generally. Fed. R. Civ. P. 9(b) Therefore, the

Court cannot provide relief under Rule 12(b)(6).

      The parties agree that the patent infringement claims are well-pleaded and

Veto is entitled to discovery on those claims. If the defendants believe that the

allegation of willfulness is baseless, they can seek relief under other provisions

of the Rules of Civil Procedure. “[W]hen a complaint is filed, a patentee must

have a good faith basis for alleging willful infringement. Fed. R. Civ. P. 8, 11(b).

So a willfulness claim asserted in the original complaint must necessarily be

grounded exclusively in the accused infringer's pre-filing conduct.” Id. at 1374. At

this time, it is not clear what “knowledge, information, and belief” Veto had when

filing its complaint, and it would be premature to declare that it could not support

its allegation of willfulness. Fed R. Civ. P. 11(b).

      The defendants argue that Veto can only support its prayer for attorney’s

fees if it proves that they acted willfully. Attorney’s fees under 35 U.S.C. § 285


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may be issued when the Court finds that the infringer acted willfully,4 but such

relief is awarded only after a judgment on liability, and is predicated on findings

of fact. See Tate Access Floors, Inc. v. Maxcess Technologies, Inc., 222 F.3d 958,

973 (Fed. Cir. 2000). A finding of such exceptional case status entitling the

prevailing party to attorney’s fees may be based on either pre- or post-filing

conduct.

      While the decision to award attorney fees is discretionary with the trial
      judge, the finding that a case is ‘exceptional’ is a finding of fact
      reviewable under the ‘clearly erroneous’ standard. Among the types of
      conduct which can form a basis for finding a case exceptional are
      willful infringement, inequitable conduct before the P.T.O., misconduct
      during litigation, vexatious or unjustified litigation, and frivolous suit.

Beckman Instruments, Inc. v. LKB Produkter AB, 892 F.2d 1547, 1551 (Fed. Cir.

1989) (internal citations omitted). Veto’s claim for attorney’s fees under 35 U.S.C.

§ 285 is included only in the prayer for relief, and preserves their rights to this

relief in consideration of the acts alleged in the complaint, or for conduct which

occurred prior to the date the complaint was filed. As with its assertion of

wilfulness, it is derivative of other claims and therefore not a “claim” that can be

dismissed under Fed. R. Civ. P. 12(b)(6). Neither party has provided any authority

indicating that the Court should consider exceptional case status before liability

is established. Therefore, the Court denies the defendants’ motions to deny this

case exceptional status without prejudice to renewal at the summary judgment

stage or after trial. As the complaint does not address facts constituting this case



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          See M odine M fg. Co. v. Allen Group, Inc., 917 F.2d 538, 543 (Fed. Cir. 1990).

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for exceptional case status on the basis of post-filing conduct, the Court does not

address that issue.

                           Leave to Amend the Complaint

      In its briefs in opposition to the defendants’ motions to dismiss [Docs. ##

21, 27] Veto asks that it be given conditional leave to amend prior to an adverse

ruling on the defendants’ motions. This, it appears, would require the Court to

notify the parties of its ruling in advance of issuing that ruling, and then to alter

that ruling should Veto’s amended complaint resolve those issues. Veto neither

presented a proposed amended complaint nor specifically moved for permission

to amend. The Court cannot assess whether “justice requires” that it give Veto

leave to amend without reviewing the proposed amendment. Fed. R. Civ. P.

15(a)(2). Veto is aware of the defendants’ contentions regarding its complaint,

and discovery has been ongoing in the seven months since the defendants first

moved to dismiss certain of Veto’s claims. This is ample time in which Veto could

have amended its complaint to resolve the preemption dispute, had it facts upon

which it could do so. Therefore, to the extent that Veto moved for leave to amend

its complaint prior to this ruling, that motion is DENIED.

      The defendants’ motions to dismiss [Docs. ## 12, 20] are GRANTED as to

the plaintiff’s claims of unjust enrichment and unfair competition.

                                           IT IS SO ORDERED.

                                                   /s/
                                           Vanessa L. Bryant
                                           United States District Judge

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Dated at Hartford, Connecticut: February 5, 2009.




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